     Case 16-01528-RG             Doc 65           Filed 07/28/20 Entered 07/28/20 10:54:36                       Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                                       Case No.:                      10-46222

In Re:                                                                 Adv. Pro. No.:                  16-1528

RANDALL JACOBS and JILL JACOBS                                         Chapter:                              13

                                                                       Judge:                                RG



                                  SUPPLEMENTAL MEDIATION REPORT

              By order of this court dated               November 8, 2016 and the parties’ agreement in
     October, 2019, this matter was referred to mediation for a second time.

         1.   A settlement of this matter:

                       ☐ was reached                 ☐ was not reached

     2.       [If a settlement was reached:] The   party designated to file the settlement document(s) is:
                                                                             [identify party by name]. The   settlement
     document(s) will be filed on or before                                       [date].



     3.       Resolution of Adversary Proceeding:
              ☐ All outstanding issues have been resolved and the case may be closed in the normal course.
              ☐ There are issues that have not been resolved and the case shall remain open.
              ☐ The matter addressed by mediation does not apply to an adversary proceeding.



     Dated: July 28, 2020                                     /s/ Harry M. Gutfleish
                                                              Mediator’s Signature


                                                                                                                     rev.8/1/16
